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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


DAVID POSCHMANN,

      Plaintiff,

v.                                               CASE NO. 2:20-cv-00595-JLB-MRM

BASIL CASTROVINCI ASSOCIATES
OF FLORIDA, LLC,

      Defendant.
_______________________________________


                                       ORDER


      The Defendant announces a settlement. (Doc. 11.) Under Local Rule 3.08(b),

this action is DISMISSED subject to the right of any party within sixty days to

(1) submit a stipulated form of final order or judgment, or (2) move to vacate the

dismissal for good cause. The clerk is directed to close the case.

      ORDERED in Fort Myers, Florida, on September 24, 2020.
